     Case 2:20-cv-01885-APG-VCF Document 11 Filed 10/27/20 Page 1 of 3




 1   WRIGHT, FINLAY & ZAK, LLP
     Darren T. Brenner, Esq.
 2   Nevada Bar No. 8386
 3   Lindsay D. Robbins, Esq.
     Nevada Bar No. 13474
 4   7785 W. Sahara Ave., Suite 200
     Las Vegas, NV 89117
 5   (702) 475-7964; Fax: (702) 946-1345
 6   lrobbins@wrightlegal.net
     Attorneys for Plaintiff, Deutsche Bank National Trust Company, Formerly Known as Bankers
 7   Trust Company of California, N.A., as Trustee for American Home Mortgage Investment Trust
     2005-2
 8
 9                               UNITED STATES DISTRICT COURT

10                                      DISTRICT OF NEVADA

11
     DEUTSCHE BANK NATIONAL TRUST                      Case No.: 2:20-cv-01885-APG-VCF
12   COMPANY, FORMERLY KNOWN AS
     BANKERS TRUST COMPANY OF
13
     CALIFORNIA, N.A., AS TRUSTEE FOR                  STIPULATION AND ORDER TO
14   AMERICAN HOME MORTGAGE                            EXTEND TIME PERIOD TO RESPOND
     INVESTMENT TRUST 2005-2,                          TO MOTIONS TO DISMISS [ECF Nos. 4
15                                                     & 5]
                          Plaintiff,
16          vs.                                        [First Request]
17
     FIDELITY NATIONAL TITLE GROUP,
18   INC.; COMMONWEALTH LAND TITLE
     INSURANCE COMPANY; DOE
19   INDIVIDUALS I through X; and ROE
     CORPORATIONS XI through XX, inclusive,
20
                         Defendants.
21
22          COMES NOW Plaintiff Deutsche Bank National Trust Company, Formerly Known as
23   Bankers Trust Company of California, N.A., as Trustee for American Home Mortgage
24   Investment Trust 2005-2 (“Deutsche Bank”), Defendant Commonwealth Land Title Insurance
25   Company (“Commonwealth”) and Fidelity National Title Group, Inc. (“FNTG”) (collectively,
26   the “Parties”), by and through their respective attorneys of record, hereby stipulate and agree as
27   follows:
28
     ///



                                                Page 1 of 3
     Case 2:20-cv-01885-APG-VCF Document 11 Filed 10/27/20 Page 2 of 3




 1         1. On September 23, 2020, Deutsche Bank filed its Complaint in Eighth Judicial District
 2            Court, Case No. A-20-821781-C [ECF No. 1-2];
 3         2. On October 8, 2020, Commonwealth filed a Petition for Removal to this Court [ECF
 4            No. 1];
 5         3. On October 13, 2020, Commonwealth filed a Motion to Dismiss [ECF No. 4];
 6         4. On October 13, 2020, FNTG also filed a Motion to Dismiss [ECF No. 5]
 7         5. Deutsche Bank’s deadline to respond to Commonwealth and FNTG’s Motions to
 8            Dismiss is currently October 27, 2020;
 9         6. Deutsche Bank’s counsel is requesting a thirty-four (34) day extension until Monday,
10            November 30, 2020, to file its response to Commonwealth and FNTG’s Motions to
11            Dismiss;
12         7. This extension is requested to allow counsel for Deutsche Bank additional time to
13            review and respond to the points and authorities cited to in the pending Motions;
14         8. Counsel for Commonwealth and FNTG does not oppose the requested extension;
15
16   ///
17
18   ///
19
20   ///
21
22   ///
23
24   ///
25
26   ///
27
28   ///



                                             Page 2 of 3
     Case 2:20-cv-01885-APG-VCF Document 11 Filed 10/27/20 Page 3 of 3




 1         9. This is the first request for an extension which is made in good faith and not for
 2             purposes of delay.
 3         IT IS SO STIPULATED.
 4    DATED this 27th day of October, 2020.         DATED this 27th day of October, 2020.
 5    WRIGHT, FINLAY & ZAK, LLP                     SINCLAIR BRAUN LLP
 6
      /s/ Lindsay D. Robbins                        /s/ Kevin Sinclair
 7    Darren T. Brenner, Esq.                       Kevin Sinclair, Esq.
      Nevada Bar No. 8386                           Nevada Bar No. 12277
 8    Lindsay D. Robbins, Esq.                      16501 Venture Boulevard, Suite 400
 9    Nevada Bar No. 13474                          Encino, California 91436
      7785 W. Sahara Ave., Suite 200                Attorneys for Defendants, Fidelity National
10    Las Vegas, NV 89117                           Title Group, Inc. and Commonwealth Land
      Attorneys for Plaintiff, Deutsche Bank        Title Insurance Company
11    National Trust Company, Formerly Known as
12    Bankers Trust Company of California, N.A.,
      as Trustee for American Home Mortgage
13    Investment Trust 2005-2
14
15   IT IS SO ORDERED.

16                     27th day of _____________,
           Dated this _____         October       2020.
17
                                               ________________________________________
18                                             UNITED STATES DISTRICT COURT JUDGE
19
20
21
22
23
24
25
26
27
28



                                              Page 3 of 3
